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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )       CAUSE NO. 2:08-CR-050
                                     )
 GEORGE LEBER,                       )
                                     )
 Defendant.                          )

                                     ORDER

       This   matter   is   before     the   Court   on     the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant George Leber (DE #114) filed on December 10, 2008.                     No

 objections have been filed to Magistrate Judge Rodovich’s findings

 and recommendations upon a plea of guilty.             Accordingly, the Court

 now ADOPTS those findings and recommendations, ACCEPTS the guilty

 plea of Defendant George Leber, and FINDS the Defendant guilty of

 Count 1 of the Indictment, in violation of Title 21 U.S.C. § 846.

       This matter will be set for sentencing upon further notice of

 the Court.



 DATED: January 5, 2009                      /s/RUDY LOZANO, Judge
                                             United States District Court
